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             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF KENTUCKY
                     COVINGTON DIVISION

State of Tennessee; Commonwealth of
Kentucky; State of Ohio; State of
Indiana; Commonwealth of Virginia;
and State of West Virginia,
Plaintiffs,

and

Christian Educators Association
International; A.C., by her next friend
and mother, Abigail Cross,
Intervenor-Plaintiffs,

v.
                                           2:24-cv-00072-DCR-CJS
Miguel Cardona, in his official            Judge Danny C. Reeves
capacity as Secretary of Education;
and United States Department of
Education,
Defendants,

A Better Balance,
[Proposed] Intervenor-Defendant,

and

Victim Rights Law Center and Jane
Doe,
[Proposed] Intervenor-Defendants

     PROPOSED INTERVENOR-DEFENDANTS VICTIM RIGHTS LAW
         CENTER AND JANE DOE’S MOTION TO INTERVENE
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         Pursuant to Federal Rule of Civil Procedure 24, proposed Intervenor-

Defendants, the Victim Rights Law Center (VRLC), a nonprofit advocacy

organization that provides legal assistance to student survivors of sex-based

harassment, and Jane Doe, a student who was sexually assaulted in fall 2024, move

to intervene. They seek to intervene to appeal vacatur of the 2024 Title IX Rule’s

provisions that pertain to sex-based harassment, including the longstanding

definition of hostile-environment sex-based harassment that the U.S. Department

of Education had enforced for decades before the 2020 Title IX Rule. 1 They also

intend to defend numerous protections for survivors in the 2024 Title IX Rule that

Plaintiffs and Intervenor-Plaintiffs did not specifically challenge. Motions to

extend the time to notice an appeal, to expedite the briefing schedule, and to permit

Jane Doe to proceed pseudonymously are filed herewith.

         In support of this motion, VRLC and Jane Doe rely on the memorandum of

law filed herewith and state:

         1.    The vacatur of the 2024 Rule and resulting reversion to the 2020 Rule

are inflicting direct and ongoing injuries on VRLC and Jane Doe.




1
 See Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving
Federal Financial Assistance, 89 Fed. Reg. 33474 (Apr. 29, 2024) (the “2024 Rule”);
Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal
Financial Assistance, 85 Fed. Reg. 30026 (May 19, 2020) (the “2020 Rule”).
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      2.     VRLC and Jane Doe are entitled to intervene as of right to defend

their interests in this matter, which are likely now unrepresented by the U.S.

Department of Education. Fed. R. Civ. P. 24(a).

      3.     VRLC and Jane Doe also satisfy the requirements for permissive

intervention. Fed. R. Civ. P. 24(b).

      For these reasons and those set forth in the accompanying memorandum of

law, VRLC and Jane Doe respectfully ask this Court to grant their motion to

intervene.

  February 28, 2025                           Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on February 28, 2025, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system, which will
send a notice of electronic filing to all counsel of record.


                                        s/ Jack Gatlin
                                        Jack S. Gatlin (KBA 88899)




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